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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


CITRIX SYSTEMS, INC.,
                                                        C.A. No. 1:18-cv-00588-VAC-SRF
                              Plaintiff,

           v.


WORKSPOT, INC.

                              Defendant.



               STIPULATION AND ORDER TO EXCEED PAGE LIMITS FOR
                BRIEFING ON MOTION FOR PRELIMINARY INJUNCTION

       WHEREAS Plaintiff Citrix Systems, Inc. (“Citrix”) intends to file a Motion for

Preliminary Injunction (the “Motion”) related to Citrix’s claims of patent infringement and false

advertising;

       WHEREAS Local Rule 7.1.3(a)(4) provides page limits for opening and answering briefs

of 20 pages;

       WHEREAS Citrix requires 30 pages for its opening brief in support of the Motion due to

the scope and complexity of the issues on which Citrix seeks relief; and

       WHEREAS the parties met and conferred, and Defendant Workspot, Inc. (“Workspot”)

agreed to Citrix’s request for 30 pages for its opening brief as long as Workspot would receive

30 pages for its answering brief;

       IT IS HEREBY STIPULATED by the undersigned counsel, subject to the approval of the

Court, that Citrix’s opening brief in support of the Motion shall not exceed 30 pages, and

Workspot’s answering brief shall not exceed 30 pages.
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Dated: May 4, 2018

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SO ORDERED this __ day of May, 2018


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                                     THE HONORABLE SHERRY R. FALLON




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